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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

 IN RE: ABILIFY (ARIPIPRAZOLE)               Case No. 3:16-md-2734-MCR-GRJ
 PRODUCTS LIABILITY
 LITIGATION                                     Chief Judge M. Casey Rodgers
                                                 Magistrate Judge Gary Jones
 This document relates to:
 ANTHONY S. DAMIANI,
                                                    Short Form Complaint
 Plaintiff,                                           and Jury Demand
 v.

 Bristol-Myers Squibb Company,
 Otsuka Pharmaceutical Co., Ltd., and
 Otsuka America Pharmaceutical, Inc.,

 Defendants.


        MASTER SHORT FORM COMPLAINT AND JURY DEMAND

       Plaintiffs incorporate by reference Plaintiffs’ Master Long Form Complaint

and Jury Demand filed in In Re: Abilify® Products Liability Litigation in the

United States District Court for the Northern District of Florida, filed as No. 108-

1 on the Master Docket. Pursuant to Case Management Order No.1, the following

Short Form Complaint encompasses Plaintiffs’ claims as adopted from the Master

Long Form Complaint in the above-captioned action.

       Plaintiffs select and indicate by checking boxes where requested, parties and

claims specific to this case. As necessary, Plaintiffs include: (a) additional claims
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against the Defendant(s) listed in paragraph 1, which are set forth in paragraph 10,

and the supporting facts for which are alleged in paragraph 11 or on an additional

sheet attached to this Complaint, and/or (b) claims pleaded against additional

defendants not listed in the Master Long Form Complaint, which are set forth in

paragraph 12 and the supporting facts for which are alleged in paragraph 12 or on

an additional sheet attached to this Complaint.

          Plaintiffs, by and through counsel, allege as follows:

I.        DEFENDANTS

          1.    Plaintiffs name the following Defendants in this action [check only

those that apply]:


               Bristol-Myers Squibb Company

               Otsuka Pharmaceutical Co., Ltd.

               Otsuka America Pharmaceutical, Inc.

II.       PLAINTIFFS


          2.    Plaintiff(s):       ANTHONY S. DAMIANI

          3.    Plaintiff’s Spouse (if applicable):

          4.    Other Plaintiff and capacity, if applicable (i.e., administrator, executor,

guardian, conservator, etc.):       N/A

          5.    Plaintiff’s State of Residence: New York


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        6.    Identify the United States District Court and Division in which venue

would be proper absent direct filing: USDC Eastern District of New York, Central

Islip Division

III.    ABILIFY® INGESTION

        7.    Plaintiff ingested Abilify® from approximately 2012 until 2016.

        8.    Plaintiff alleges that Abilify® was ingested in the following state(s):

        New York

IV.     INJURIES

        9.    Plaintiff alleges the following injury(ies) as a result of Abilify® usage:

 Plaintiff suffered mental pain, suffering, and anguish, loss of capacity for the
 enjoyment of life, expense of medical care and treatment, loss of earnings, loss of
 ability to earn money, aggravation of a pre-existing condition, gambling losses,
 spending losses, hyper sexuality, divorce, and other economic losses. The losses
 are either permanent or continuing, and Plaintiff will suffer the losses in the future.




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V.    CLAIMS/COUNTS

      10.   The following claims asserted in the Master Long Form Complaint, and

the allegations with regard thereto in the Master Long Form Complaint, are adopted

in this Short Form Complaint by reference:


           Count I – STRICT LIABILITY

           Count II – BREACH OF EXPRESS WARRANTY

           Count III – BREACH OF IMPLIED WARRANTY

           Count IV – NEGLIGENCE

           Count V – NEGLIGENCE PER SE

           Count VI – NEGLIGENT MISREPRESENTATION

           Count VII – VIOLATION OF CONSUMER PROTECTION LAWS,
            SPECIFICALLY:

           Count VIII – FRAUDULENT CONCEALMENT

      □     Count IX – LOSS OF CONSORTIUM

           Count X – PUNITIVE DAMAGES

           Count XI – OTHERS [Specify below]




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       11.   If additional claims against the Defendants identified in the Master

Long Form Complaint are alleged in paragraph 10, the facts supporting these

allegations must be pleaded. Plaintiff asserts the following factual allegations against

the Defendants identified in the Master Long Form Complaint:


 N/A




       12.   Plaintiffs assert the following additional claims and factual allegations

against other Defendants (must name defendant and its alleged citizenship):


 N/A




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      WHEREFORE, Plaintiffs pray for relief as set forth in the Plaintiffs’ Master

Long Form Complaint in In Re: Abilify® Products Liability Litigation in the United

States District Court for the Northern District of Florida.


                                        AYLSTOCK, WITKIN, KREIS &
                                        OVERHOLTZ, PLLC
      Dated: January 21, 2019             s/ Bryan F. Aylstock
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